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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.                                       Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                           Defendant.


                        JOINT MOTION TO CONTINUE HEARING

       The United States of America and defendant Roger Stone respectfully move to continue

the hearing currently set for June 21, 2019. One of the prosecutors assigned to this case has a

personal scheduling conflict on that date. In addition, one of Stone’s lawyers is having surgery

this week and will not be able to travel until mid-July. The parties have conferred and are both

available on July 16, 17, or 18. The parties respectfully request that the Court continue the

motions hearing for one of those dates, or another date thereafter that is convenient to the Court.

                              Respectfully submitted,


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